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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                  FAYETTEVILLE DIVISION

PLAINTIFF - JESSICA McKINNEY, Next Friend of K.P. JUDGE: TIMOTHY L. BROOKS
      ATTORNEY: Monzer Mansour
                  William Hyman                   REPORTER: DANA HAYDEN

DEFENDANTS - HUNTSVILLE SCHOOL DISTRICT;                  COURT CLERK: SHERI CRAIG
     ROXANNE ENIX, Individual Capacity as
     Principal of Huntsville High School; and             CASE NO.: 5:18-CV-5067
     JOHN DOES 1-10, Individual Capacities
     ATTORNEY: Charles Harwell
                   Matthew Fryar

                                       MOTION HEARING
                                        JULY 19, 2018

 TIME      MINUTES
 1:39 PM   Court Convenes
           Procedural History by Court
           MOTION TO DISMISS
                  Argument by the Defendant
                  Argument by the Plaintiff
           Ruling from the Bench - Order to follow
           MOTION FOR PRELIMINARY INJUNCTION
           Rule Invoked
                  Testimony on behalf of the Plaintiff:
                          PW#1 - Sydney Warford
                                 PX#1 - Student Petition (received under limited purposes)
                          PW#2 - Zachary Taylor
                          PW#3 - Kylan Pierce
                                 PX#2 - Affidavit of Kylan Pierce
                                 DX#1 - Instagram Comments
                                 DX#2 - Instagram Comments
                                 DX#3 - Instagram Comments
                                 DX#4 - Email to Kylan Pierce
                          PW#4 - Jessica McKinney
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                 Testimony on behalf of the Defendant:
                        DW#1 - Roxanne Enix
                               DX#5 - Procedures for Expelled Students
                               DX#6 - Emails to/from Enix/Meythaler/Jones
                 Argument by Counsel
          Court takes Motion under advisement – Order to follow
6:12 pm   Court Adjourned




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